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       UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



 IN RE: REAL ESTATE COMMISSION
 ANTITRUST LITIGATION
                                                     MDL No. 3100




 TEXAS PLAINTIFFS’ OPPOSITION TO THE GIBSON AND UMPA PLAINTIFFS’
MOTION FOR TRANSFER AND CENTRALIZATION PURSUANT TO 28 U.S.C. § 1407

       Plaintiffs in Martin, et al. v. Texas Association of Realtors, et al., Case No. 4:23-cv-01104-

SDJ and QJ Team, LLC, et al. v. Texas Association of Realtors, Inc., et al., Case No. 4:23-cv-

001013-SDJ, both currently pending before Judge Sean D. Jordan in the United States District

Court for the Eastern District of Texas (the “Texas Plaintiffs”) oppose the Gibson and Umpa

Plaintiffs’ (the “Gibson/Umpa Plaintiffs”) motion to transfer and centralize the cases listed on the

motion’s Schedule of Actions (ECF No. 1-2) (which for simplicity’s sake are called the “Related

Actions,” even though, as explained below, they are only superficially related to each other).

       The Related Actions should not be centralized, but stay in the courts where they are

currently pending.     The MDL structure proposed by the Gibson/Umpa Plaintiffs risks

overwhelming any one court, no matter how competent the judge, or well-resourced the district.

If the Panel does centralize the Related Actions, the Texas Plaintiffs’ cases should be excluded

from the Panel’s centralization order, and should remain in the Eastern District of Texas.

       A.      The Related Actions Do Not Satisfy the Statutory Requirements for
               Centralization

       The Panel should deny the Gibson/Umpa Plaintiffs’ motion because the Related Actions

do not satisfy 28 U.S.C. § 1407 for at least three reasons. First, they lack an appreciable set of



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genuinely “common questions of fact.” Second, centralization will not serve “the convenience of

parties and witnesses.” Third, centralizing them will not “promote the just and efficient conduct”

of these cases.

                  1. The Related Actions Do Not Share Truly Common Questions of Fact

          The Gibson/Umpa Plaintiffs overstate what little factual commonality actually exists

among the Related Actions. A prime example of this kind of misleading overstatement is their

assertion that “whether defendants possess market power in the relevant markets” is a factual

question common to the Related Actions. ECF No. 1-1, at 8. This is untrue.

          The Related Actions each involve allegations of conspiracies, defendants, and proposed

classes limited to distinct states,1 only one part of one state,2 different parts of the same state,3 or

even different parts of the same city.4 Assessing a given defendant’s market power in an alleged

relevant market is a fact-intensive exercise that turns on the marketplace realities in each case.

While commonly-used methodology and economics are relevant, market definition remains a

factual finding entirely focused on the specific characteristics of a particular market. See Queen

City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d Cir. 1997) (“proper market definition

can be determined only after a factual inquiry into the commercial realities faced by consumers.”)

(citing Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 482 (1992)).



1
    See, e.g., the Texas Plaintiffs’ cases.
2
 See, e.g., Spring Way Center, LLC et al. v. West-Penn Multi-List, Inc. et al., 23-cv-2061 (W.D.
Pa.) (Western Pennsylvania).
3
  See, e.g. Grace v. N.A.R. et al., 23-cv-6352 (N.D. Cal.) and Fierro et al. v. N.A.R. et al., 24-cv-
449 (C.D. Cal.) (the San Francisco Bay Area, and Madera-Fresno-Los Angeles Counties,
respectively).
4
 See, e.g., March v. Brown Harris Stevens, LLC et al., 23-cv-9995 (S.D.N.Y.) and Friedman v.
REBNY et al., 24-cv-405 (S.D.N.Y.) (Manhattan and Brooklyn, respectively).

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       The facts needed to prove market power will therefore be different in each of the Related

Actions, which is why the courts where plaintiffs chose to file their cases are best suited to analyze

each of those actions, and furthermore why centralization would be inappropriate. See In re: Uber

Techs., Inc., Wage and Hour Emp. Pracs., MDL No. 2686, 158 F. Supp. 3d 1372, 1373 (J.P.M.L.

2016) (denying motion for centralization when the claims at issue “rest on state-specific legal and

factual inquiries that are not suitable for centralized pretrial proceedings”).

       In the context of all these disparate and factually-distinct cases, that each of the Related

Actions allege that their case’s defendants adopted the same standard set of National Association

of Realtors (“NAR”) rules should have little or no bearing on the Panel’s decision. Common

reliance on the NAR rules does not negate the fact-specific inquiries as to how those particular

defendants in that particular region used those rules in furtherance of that particular conspiracy, or

the impact those specific defendants’ application of the NAR rules had in that particular market.

Those case-specific issues make centralization inappropriate.

       For example, in In re: COVID-19 Bus. Interruption Prot. Ins. Litig., MDL No. 2942, 482

F. Supp. 3d 1360, 1362-63 (J.P.M.L. 2020), the court denied the creation of a proposed industry-

wide MDL of numerous different insurers where the MDL motion relied, in part, on industry-wide

use of standardized policy forms to support centralization. The court held that “[w]hile the policy

language for business income and civil authority coverages may be very similar among the

policies, seemingly minor differences in policy language could have significant impact on the

scope of coverage.” Id. Because the cases “involve[d] different insurance policies with different

coverages, conditions, exclusions, and policy language, purchased by different businesses in

different industries located in different states,” the court concluded that centralization was




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inappropriate because “[t]hese differences [would] overwhelm any common factual questions.”

Id.

        Contrary to the Gibson/Umpa Plaintiffs’ contention, the factual questions in the Related

Actions “share only a superficial commonality.” Id., at 1362. Accordingly, the Panel should deny

their centralization motion.

                2. Centralizing the Related Actions Will Not Serve the Convenience of the Parties
                   and Witnesses

        The overwhelming majority of the defendants in each of the Related Actions are entities

that operate in only a single state, or a region of a single state, or a single part of a single region of

a single state. Indeed, if the Panel were to put into a hat all of the defendants named in the Related

Actions, it would as of today have just a one-in-six chance of drawing a defendant named in more

than one district. The Related Actions do not meet the statutory requirement that centralization

serve the “convenience of the parties and witnesses” because there are so few common defendants.

        So, while the Related Actions share superficial factual commonality, and some discovery

might be common, the significant variance in named defendants “virtually ensures that a

significant amount of the discovery will be defendant-specific” and “fatally undermine[s] the case

for centralization,” as it would be “unlikely to serve the convenience of a substantial number of

parties and their witnesses.” In re: Cordarone (Amiodarone Hydrochloride) Mktg., Sales Pracs.

and Prods. Liab. Litig., MDL No. 2706, 190 F. Supp. 3d 1346, 1347-1348 (J.P.M.L. 2016).

Discovery in each action will be chiefly, and possibly entirely, unique to that case. Whatever

limited discovery there may be amongst any of the few common defendants, like document

productions and deposition transcripts, can be cooperatively produced and shared among the

various cases to reduce or eliminate any duplication of effort.




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       Centralizing the Related Actions risks overwhelming the scores of non-common

defendants with unique factual issues concerning the various individual broker and association

defendants named in each case, and the particulars of the state- or region-specific conspiracies

alleged by each proposed class of plaintiffs. See In re: Varsity Spirit Athlete Abuse Litig., MDL

No. 3077, 2023 WL 3828645, at *1 (J.P.M.L. June 5, 2023) (“While the eight common defendants

are named in all actions, there are approximately 30 individual coaches, gyms, and choreographers

named as defendants in these actions. Most are named in just one action, and none are named in

more than one district. Discovery regarding each individual defendant’s conduct and their

relationship to and interactions with the common defendants will not overlap. Therefore, any

efficiencies to be gained by centralization may be diminished by unique factual issues.”); In re:

JPMorgan Chase Paycheck Prot. Program Litig., MDL No. 2944, 481 F. Supp. 3d 1342, 1344

(J.P.M.L. 2020) (“Although these actions share factual questions arising out of allegations that

Chase failed to implement and follow federal regulations . . .we conclude that centralization will

not serve the convenience of the parties and witnesses or further the just and efficient conduct of

the litigation” because individualized factual issues “will significantly diminish the potential

efficiencies from centralization.”).

               3. Centralization Will Not Promote the Just and Efficient Conduct of the Related
                  Actions

       To satisfy 28 U.S.C. § 1407, centralization must promote the just and efficient conduct of

the Related Actions. Here, it would not. The Gibson/Umpa Plaintiffs effectively propose an

industry-wide MDL.       Their proposed structure raises significant managerial and efficiency

concerns. A transferee court would have to establish a pretrial structure to manage multiple classes

of plaintiffs and dozens of defendants operating in different parts of the country. “To say this

litigation would result in a complicated MDL seems an understatement. Managing such a litigation



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would be an ambitious undertaking for any jurist, and implementing a pretrial structure that yields

efficiencies will take time . . . An industry-wide MDL in this instance will not promote a quick

resolution of these matters.” In re: COVID-19, 482 F. Supp. 3d at 1362-63.

       Texas Plaintiffs do not dispute Judge Bough’s competence, nor his familiarity with the

Missouri-specific facts and issues of the Burnett case.5 But the industry-wide MDL proposed by

the Gibson/Umpa Plaintiffs promises to be the kind of sprawling, unwieldly behemoth that should

not be imposed on any one judge, his or her staff, and the resourceful but chronically overburdened

clerical and technical personnel of any one district court. “Put simply, the MDL that movants

request entails very few common questions of fact, which are outweighed by the substantial

convenience and efficiency challenges posed by managing a litigation involving the entire . . .

industry.” Id. at 1363.

       Moreover, because the Related Actions must be remanded back to their original venues for

trial – the MDL process being solely for pre-trial proceedings – those transferor courts would face

a huge burden getting up to speed on a massive record of class certification, expert and fact

discovery, and summary judgment. Those courts would, if the Panel centralizes the Related

Actions, essentially lack the degree of familiarity that served Judge Bough so well in seeing

Missouri’s Burnett case through trial.




5
  The Gibson/Umpa Plaintiffs also argue that Judge Bough’s recent preliminary approval of
proposed nationwide settlements is a factor supporting transfer of the Related Actions to his court.
ECF No. 1-1, at 11. The Texas Plaintiffs disagree. The deadline for objections to, and exclusions
from, the proposed nationwide settlements has not passed, and no fairness hearing has yet been
held. There may be significant and substantive objections to the scope of the nationwide
settlement-only class in a case that was tried by a certified litigation class of Missouri plaintiffs
pursuing claims related solely to the Missouri market. Judge Bough’s decision on whether to
finally approve those settlements must, pursuant to Fed. R. Civ. P. 23, be informed by any
objections lodged and what happens at the fairness hearing. Thus, the preliminary approval of that
settlement should have no impact on the Panel’s decision.

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       B.      If the Panel Centralizes the Related Actions, the Texas Plaintiffs’ Cases Should
               Be Excluded from Any Centralization Order

       The Panel should not centralize the Related Actions. But if the Panel does so, the Texas

Plaintiffs respectfully request that their cases be excluded from the Panel’s centralization and

transfer order, and remain before Judge Jordan in the Eastern District of Texas.

       The Texas Plaintiffs bring claims on behalf of a Texas-based class. In addition to Sherman

Act claims, the Texas Plaintiffs have alleged a unique Texas-only cause of action under Texas law

(the state’s Deceptive Trade Practices Act) against defendants based and operating (with limited

exceptions) only in Texas, seeking damages for wrongdoing committed in Texas and affecting the

Texas market (and only the Texas market, as it as alleged in the Texas Plaintiffs’ complaints). The

Texas Plaintiffs’ cases will involve unique document and deposition discovery of people and

entities in Texas concerning the alleged conduct in Texas that is distinct from the conduct and

discovery in any of the other Related Actions.6

       The parties in the Texas Plaintiffs’ cases have already negotiated, and are currently working

on filing, an agreed-upon scheduling order establishing timing for consolidation of their cases,

filing of a consolidated complaint, and filing of answers, motions to dismiss, and other responsive

pleadings. So, while the Panel considers the Gibson/Umpa Plaintiffs’ centralization motion, the

Texas Plaintiffs’ cases will proceed and continue to be developed. In fact, several defendants in

the Texas Plaintiffs’ cases have offered to begin informal discovery. Including the Texas Plaintiffs’

cases in any centralization order would be a setback to the efficient development of these cases in



6
  What (if any) overlapping discovery involving the few defendants the Texas Plaintiffs’ cases
share with the other Related Actions can be dealt with through informal cooperation and
coordination among the different parties. See, e.g., In re: OSF Healthcare Sys. Emp. Ret. Income
Sec. Act (ERISA) Litig., MDL No. 2749, 223 F. Supp. 3d 1343, 1345 (J.P.M.L. 2016) (denying
centralization, holding that “informal coordination of discovery and pretrial motions is preferable
to centralization”).

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the Eastern District of Texas, where the parties are ready and willing to proceed. The Texas

Plaintiffs’ cases should therefore be excluded from any centralization order issued, or MDL

created, by the Panel.

       Notwithstanding the above, if the Panel both grants the centralization motion and includes

the Texas Plaintiffs’ cases in its centralization order, the Panel should centralize the Related Actions

in the Western District of Missouri.

       C.      Conclusion

       The Related Actions should not be centralized for the reasons explained above. In the

alternative, if the Panel orders centralization, the Texas Plaintiffs’ cases should be excluded from

any such order, and stay in the Eastern District of Texas. If, however the Panel centralizes the

Related Actions and includes the Texas Plaintiffs’ cases in its centralization order, the Related

Actions should be centralized in the Western District of Missouri.

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